Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 1 of 33 Page ID #:4959


                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 15-02034 JVS(JCGx)                                      Date   August 1, 2016

 Title             Natural Immunogenics Corp. v. Newport Trial Group, et al.


 Present: The Honorable             James V. Selna
                         Ivette Gomez                                         Not Present
                         Deputy Clerk                                       Court Reporter


                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                         Not Present
 Proceedings:           (In Chambers) Order GRANTING IN PART and DENYING IN
                        PART Rule 12(b)(6) Motions to Dismiss and Anti-SLAPP Motion to
                        Strike



                    Before the Court are three motions:

      First, Defendants Newport Trial Group, Andrew Baslow (“Baslow”), Ryan Ferrell,
Scott Ferrell, Victoria Knowles (“Knowles”), and David Reid (“Reid”) (collectively, the
“NTG Defendants”) filed a motion to dismiss Plaintiff Natural-Immunogenics
Corporation’s (“Natural-Immunogenics”) second amended complaint under Federal Rule
of Civil Procedure 12(b)(6). Docket No. 120. Natural-Immunogenics filed an opposition.
Docket No. 132. The NTG Defendants filed a reply. Docket No. 139.

       Second, the NTG Defendants filed an anti-SLAPP motion to strike Natural-
Immunogenics’s second amended complaint under the California Anti-SLAPP Law, Cal.
Civil Proc. Code § 425.16. Docket No. 122. Natural-Immunogenics filed an opposition.
Docket No. 131. The NTG Defendants filed a reply. Docket No. 138.

      Third, Defendants Taylor Demulder (“Demulder”), Matthew Dronkers
(“Dronkers”), Andrew Nilon (“Nilon”), Sam Pfleg (“Pfleg”), Giovanni Sandoval
(“Sandoval”), and Sam Schoonover (“Schoonover”) (collectively, the “non-NTG
Defendants”) filed a Rule 12(b)(6) motion to dismiss Natural-Immunogenics’s second
amended complaint. Docket No. 126. Natural-Immunogenics filed an opposition. Docket
No. 133. The non-NTG Defendants filed a reply. Docket No. 141. The non-NTG
Defendants have also joined the NTG Defendants’ motion to dismiss and anti-SLAPP
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                              Page 1 of 33
Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 2 of 33 Page ID #:4960


                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title          Natural Immunogenics Corp. v. Newport Trial Group, et al.

motion to strike. Docket Nos. 124, 125.

      For the reasons stated below, the Court grants in part and denies in part the
pending motions.

1.       Background

         1.1.    Factual background

       Natural-Immunogenics is a Florida corporation that sells dietary supplements and
homeopathic products, including a national line of colloidal silver products marketed
under the brand name “Sovereign Silver.” Docket No. 92 ¶ 1. Newport Trial Group is a
law firm based in Newport Beach, California. Id. ¶ 20.

       In March 2012, Newport Trial Group and its attorneys Scott Ferrell, Ryan Ferrell,
Knowles, and Reid filed a consumer class action lawsuit against Natural-Immunogenics
for making false and misleading statements in connection with its Sovereign Silver
products. Id. ¶ 13. Nilon served as lead plaintiff and class representative. Id. Natural-
Immunogenics alleges that the lawsuit was fraudulent: Newport Trial Group bribed Nilon
to both (1) serve as the lead plaintiff and class representative and (2) fraudulently allege
that he purchased Natural-Immunogenics’s products and relied on Natural-
Immunogenics’s false and misleading statements when purchasing the product. Id.
Natural-Immunogenics further alleges that this action was part of Newport Trial Group’s
broader scheme to bring fraudulent consumer class action lawsuits against corporate
defendants for the improper purpose of extracting out-of-court settlements from these
defendants. Id. ¶¶ 21-25.

      Natural-Immunogenics’s complaint describes two such schemes: (1) the false
advertising scheme and (2) the wiretapping scheme. Id. ¶ 25.

      In the false advertising scheme, the Newport Trial Group and its investigator
Baslow would identify individuals to serve as lead plaintiffs in consumer fraud class
actions against companies selling products in California. Newport Trial Group would
then bribe these individuals to make intentional false representations that (1) they
purchased the defendant’s product in reliance on the representations made in defendant’s
CV-90 (06/04)                           CIVIL MINUTES - GENERAL                          Page 2 of 33
Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 3 of 33 Page ID #:4961


                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.           SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title              Natural Immunogenics Corp. v. Newport Trial Group, et al.

product advertisements; (2) the product did not work as advertised; and (3) they were
injured as a result of their reliance on the advertisements. Id. ¶ 29. Using these false
allegations, the Newport Trial Group would threaten companies with statewide class
actions under various California consumer protection statutes,1 and, before the companies
could discover that the allegations were false, extort out-of-court settlements from these
companies. Id. ¶ 27.

       The wiretapping scheme functioned similarly. Under the wiretapping scheme, the
Newport Trial Group and Baslow would identify individuals to serve as potential lead
plaintiffs in consumer privacy class actions. Newport Trial Group would then bribe these
individuals to stage private phone calls to various companies, and then later make
intentionally false representations that (1) they were not aware that the call was being
recorded; (2) they did not consent to the recording; and (3) they later learned that the
company recorded all incoming calls only after completing the call. Id. ¶ 34. Using these
false allegations, the Newport Trial Group would threaten companies with statewide class
actions under the California Invasion of Privacy Act, Cal. Pen. Code § 632 et seq.,2 and,

                1
            Natural-Immunogenics’s second amended complaint
    identifies four lawsuits filed in connection with the false
    advertising scheme: (1) Nilon v. Natural-Immunogenics Corp., Case
    No. 3:12-cv-00930-LAB-BGS (C.D. Cal. 2012) (“Nilon”); (2) Pfleg
    v. Nature’s Way Products, Inc., Case No. 37-2012-0051979-CU-MT-NC
    (San Diego Cty. Sup. Ct. 2012) (“Nature’s Way”); (3) Dronkers v.
    Kiss My Face, LLC, Case No. 3:12-01151-JAH (S.D. Cal. 2012)
    (“Kiss My Face”); and (4) Morales v. Magna, Inc., Case No. 3:10-
    cv-01601-EDL (N.D. Cal. 2010) (“Bobba”). Id. ¶¶ 49-147, 175-221,
    265-281. Nilon, Pfleg, and Dronkers served as the lead plaintiffs
    in Nilon, Nature’s Way, and Kiss My Face, respectively. Id.
    Sandoval later substituted in as lead plaintiff and class
    representative in Nilon. Docket No. 92 ¶¶ 105-113.
                2
           Natural-Immunogenics’s second amended complaint identifies
    four lawsuits filed in connection with the wiretapping scheme:
    (1) Nilon v. Chromadex, Inc., Case No. 56-2013-00436790-CU-MT-VTA
    (Ventura Cty. Sup. Ct. 2013) (“Chromadex”); (2) Demulder v.
    Carter-Reed Co., LLC, Case No. 3:12-cv-0333-BTM (S.D. Cal. 2012)
    (“Carter-Reed”); (3) Schoonover v. Himalaya Drug Co., Case No.
    12-cv-1782 (S.D. Cal. 2012) (“Himalaya Drug”); and (4) Torres v.
    Nutrisystem, Case No. 8:12-cv-01854-CJC-JPR (C.D. Cal. 2012)
    (“Nutrisystem”). Id. ¶¶ 148-174, 222-264, 282-317. Nilon,
    Demulder, and Schoonover served as the lead plaintiffs in
CV-90 (06/04)                               CIVIL MINUTES - GENERAL                          Page 3 of 33
Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 4 of 33 Page ID #:4962


                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.           SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title              Natural Immunogenics Corp. v. Newport Trial Group, et al.

before the companies could discover that the allegations were false, extort out-of-court
settlements from these companies. Id.

         1.2.        Procedural background

       In May 2016, Natural-Immunogenics filed its second amended complaint in this
action.3 Docket No. 92. The second amended complaint alleges: (1) malicious
prosecution against the NTG Defendants, Nilon, and Sandoval; (2) violation of the
Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1961 et seq.,
against all defendants; (3) conspiracy to violate RICO against all defendants; and (4)
unfair competition in violation of the California Unfair Competition Law (“UCL”), Cal.
Bus. & Prof. Code § 17200 et seq., against all defendants. Id.

      The NTG Defendants now move to dismiss the second and third claims for
substantive RICO violations and conspiracy to violate RICO. Docket No. 120. The NTG
Defendants also move to strike the fourth claim for unfair competition under the
California anti-SLAPP statute. Docket No. 122. The non-NTG Defendants join both
motions. Docket Nos. 124, 125. Separately, Sandoval moves to dismiss certain
racketeering allegations for failure to state a claim, and Defendants Pfleg, Schnoonover,
Demulder, and Dronkers move to dismiss the action in its entirety for failure to state a
claim. Docket No. 126.

2.       Legal Standards

         2.1.        Rule 12(b)(6) motion to dismiss

       A complaint must contain “a short and plain statement of the claim showing that
the pleader is entitled to relief.” Fed. R. Civ. P. 8(a). Rule 12(b)(6) requires courts to
dismiss a complaint for failure to state a claim. Fed. R. Civ. P. 12(b)(6). To defeat a

     Chromadex, Carter-Reed, and Himalaya Drug, respectively. Id.
                3
            Natural-Immunogenics filed its first complaint in December
     2015. Docket No. 1. Natural-Immunogenics filed its first amended
     complaint in January 2016. Docket Nos. 29, 30. After motion and
     oral argument, the Court dismissed Natural-Immunogenics’s first
     amended complaint without prejudice. Docket No. 88.
CV-90 (06/04)                               CIVIL MINUTES - GENERAL                          Page 4 of 33
Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 5 of 33 Page ID #:4963


                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.           SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title              Natural Immunogenics Corp. v. Newport Trial Group, et al.

motion to dismiss under Rule 12(b)(6), the plaintiff must allege “enough facts to state a
claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544,
570 (2007). A claim has “facial plausibility” if the plaintiff pleads facts that “allow[] the
court to draw the reasonable inference that the defendant is liable for the misconduct
alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Fraud claims require more. Fed. R.
Civ. P. 9(b). To allege fraud, the plaintiff must also allege the circumstances constituting
fraud “with particularity.” Id. This requires the plaintiff to allege the “who, what, when,
where, and how” of the alleged fraud. Cooper v. Pickett, 137 F.3d 616, 627 (9th Cir.
1997).

       To resolve a 12(b)(6) motion under Iqbal and Twombly, courts must follow a two-
pronged approach. First, courts must accept all well-pleaded factual allegations as true
and draw all reasonable inferences in favor of the plaintiff. Iqbal, 556 U.S. at 678. At this
step, the court can only consider allegations in the complaint, documents attached to the
complaint, matters subject to judicial notice,4 and “documents whose contents are alleged
in the complaint and whose authenticity no party questions, but which are not physically
attached to the pleading.” Branch v. Tunnell, 14 F.3d 449, 454 (9th Cir. 1994). Second,
assuming the well-pleaded factual allegations are true, courts must “determine whether
they plausibly give rise to an entitlement to relief.” Iqbal, 556 U.S. at 679. This
determination is “context-specific,” requiring courts to draw on their experience and
common sense. Id. There is no plausibility, however, “where the well-pleaded facts do
not permit the court to infer more than the mere possibility of misconduct.” Id.

         2.2.        Anti-SLAPP motion

     “The anti-SLAPP statute was enacted to allow early dismissal of meritless first
amendment cases aimed at chilling express through costly, time-consuming litigation.”
Metabolife Int’l, Inc. v. Wornick, 264 F.3d 832, 839 (9th Cir. 2001). “Under the statute, a

                4
           In support of their respective motions to dismiss, the NTG
    Defendants and the non-NTG Defendants request judicial notice of
    notices of voluntary dismissals filed in Bobba and Carter-Reed,
    as well as the complaints filed in Nature’s Way, Kiss My Face,
    Carter-Reed, and Himalaya Drug. Docket Nos. 121, 127. Courts may
    take judicial notice of federal and state court filings. Harris
    v. Cty of Orange, 682 F.3d 1126, 1131-32 (9th Cir. 2012). The
    Court therefore grants the requests for judicial notice.
CV-90 (06/04)                               CIVIL MINUTES - GENERAL                          Page 5 of 33
Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 6 of 33 Page ID #:4964


                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title          Natural Immunogenics Corp. v. Newport Trial Group, et al.

civil defendant may move to strike a cause of action based on an ‘act in furtherance of
[the] right to petition or free speech.’” Id. at 840 (quoting Cal. Civ. Proc. Code §
425.16(b)). Courts use a two-step burden-shifting approach when reviewing anti-SLAPP
motions. First, the defendant must show that the activity challenged by the plaintiff was
“taken in furtherance of the defendant’s right of petition or free speech under the United
States or California Constitution in connection with a public issue.” Hilton v. Hallmark
Cards, 599 F.3d 894, 903 (9th Cir. 2009) (internal quotation marks omitted). Second, if
the defendant meets its initial burden, the plaintiff must show that it has “a reasonable
probability that the plaintiff will prevail on his or her . . . claim.” In re NCAA
Student-Athlete Name & Likeness Licensing Litig., 724 F.3d 1268, 1273 (9th Cir. 2013)
(internal quotation marks omitted). At this second step, the plaintiff must show that “the
complaint is legally sufficient and supported by a prima facie showing of facts to sustain
a favorable judgment if [any admissible] evidence submitted by plaintiff is credited.” Id.
“This burden is much like that used in determining a motion for nonsuit or directed
verdict, which mandates dismissal when no reasonable jury could find for the plaintiff.”
Metabolife, 264 F.3d at 840 (internal quotation marks omitted). “Thus, a defendant’s
anti-SLAPP motion should be granted when a plaintiff presents an insufficient legal basis
for the claims or when no evidence of sufficient substantiality exists to support a
judgment for the plaintiff.” Id. (internal quotation marks omitted).

3.       NTG Defendants’ Rule 12(b)(6) motion to dismiss

         3.1.           RICO claims

       A plaintiff may bring a private civil action for RICO violations. 18 U.S.C. §
1964(c). The RICO statute prohibits various type of activities. As relevant here, section
1962(c) of the RICO statute prohibits any person from conducting or participating in an
enterprise with income derived from a pattern of racketeering activity. Id. § 1962(c). To
state a claim for violation of section 1962(c), the plaintiff must allege that the defendant
engaged in “(1) conduct (2) of an enterprise (3) through a pattern (4) of racketeering
activity (known as ‘predicate acts’) (5) causing injury to plaintiff’s business or property.”
Living Designs, Inc. v. E.I. Dupont de Nemours and Co., 431 F.3d 353, 361 (9th Cir.
2005).


CV-90 (06/04)                           CIVIL MINUTES - GENERAL                          Page 6 of 33
Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 7 of 33 Page ID #:4965


                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title          Natural Immunogenics Corp. v. Newport Trial Group, et al.

      Here, Natural-Immunogenics’s second amended complaint alleges that the NTG
Defendants violated section 1962(c) when prosecuting the Nilon, Chromadex, Carter-
Reed, Himalaya Drug, Nutrisystem, Nature’s Way, Kiss My Face, and Bobba actions.
Docket No. 1 ¶ 336. The NTG Defendants now move to dismiss the section 1962(c)
claims for failure to allege either predicate racketeering activity or a pattern of
racketeering activity. Docket No. 120. As explained below, the Court grants the NTG
Defendants’ motion to dismiss as to Knowles. The Court otherwise denies the NTG
Defendants’ motion to dismiss.

                 3.1.1.         Racketeering activity

       The NTG Defendants first move to dismiss Natural-Immunogenics’s RICO claims
for failure to allege racketeering activity. Docket No. 120 at 8-16. To allege racketeering
activity, the plaintiff must allege that the defendant committed at least one of the
predicate acts listed in 18 U.S.C. § 1961(1). Sedima, S.P.R.L v. Imrex Co, Inc., 473 U.S.
479, 495 (1985) (“‘[R]acketeering activity’ consists of no more and no less than
commission of a predicate act.”). Natural-Immunogenics’s second amended complaint
alleges six such predicate acts: mail fraud, wire fraud, extortion, bribery, obstruction of
justice, and witness tampering. Docket No. 92 ¶¶ 49-147. As explained below, Natural-
Immunogenics has adequately alleged that the NTG Defendants, with the exception of
Knowles, have committed these predicate acts.

                          3.1.1.1.    Noerr-Pennington doctrine

      As an initial matter, the NTG Defendants argue that, under the Noerr-Pennington
doctrine, they are immune from RICO liability for their alleged RICO activity. Docket
No. 120 at 9-16. The Court disagrees.

      The Noerr-Pennington doctrine provides absolute immunity for statutory liability
for conduct when petitioning the government for redress. Sosa v. DIRECTV, Inc., 437
F.3d 923, 929 (9th Cir. 2006). Immunity under the Noerr-Pennington doctrine includes
communications made to the court during the course of a lawsuit. Such communications
include “[a] complaint, an answer, a counterclaim and other assorted documents and
pleadings, in which plaintiffs or defendants make representations and present arguments
to support their request that the court do or not do something.” Id. at 933. “Conduct
CV-90 (06/04)                            CIVIL MINUTES - GENERAL                         Page 7 of 33
Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 8 of 33 Page ID #:4966


                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 15-02034 JVS(JCGx)                                 Date   August 1, 2016

 Title          Natural Immunogenics Corp. v. Newport Trial Group, et al.

incidental to a lawsuit, including a pre-suit demand letter, [also] falls within the
protection of the Noerr-Pennington doctrine.” Theme Promotions, Inc. v. News Am.
Mktg. FSI, 546 F.3d 991, 1007 (9th Cir. 2008).

       The Ninth Circuit has recognized an exception to the Noerr-Pennington doctrine,
however. Noerr-Pennington immunity does not apply to conduct that, although
“ostensibly directed toward influencing governmental action, is a mere sham to cover
what is actually nothing more than an attempt to interfere” with the defendant’s business
practices. Sosa, 437 F.3d at 938. As a result, “‘[s]ham’ petitions don’t fall within the
protection of the doctrine.” Freeman v. Lasky, Haas & Cohler, 410 F.3d 1180, 1183-84
(9th Cir. 2005). The Ninth Circuit has identified three circumstances when the so-called
sham litigation exception applies:

                 (1)    the lawsuit is objectively baseless and the defendant’s
                        motive in bringing it is unlawful;

                 (2)    the conduct involves a series of lawsuits brought pursuant
                        to a policy of starting legal proceedings without regard to
                        the merits and for an unlawful purpose; or

                 (3)    if the allegedly unlawful conduct consists of making
                        intentional misrepresentations to the court, litigation can be
                        deemed a sham if a party’s knowing fraud upon, or its
                        intentional misrepresentations to, the court deprive the
                        litigation of its legitimacy.

         Sosa, 437 F.3d at 936 (internal quotation marks omitted).

        At minimum, the first sham litigation exception applies here. The first sham
litigation exception “contains both an objective and a subjective component.” Freeman,
410 F.3d at 1185. On the first prong, the plaintiff must first show that the lawsuit was
“objectively baseless.” Id. This requires the plaintiff to show that there is no “probable
cause” to support the lawsuit. Id. (quoting Prof’l Real Estate Investors, Inc. v. Columbia
Pictures Indus., Inc., 508 U.S. 49, 62 (1993)). A lawsuit lacks probable cause when “no
reasonable litigant could realistically expect success on the merits.” UMG Recordings,
CV-90 (06/04)                            CIVIL MINUTES - GENERAL                           Page 8 of 33
Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 9 of 33 Page ID #:4967


                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title          Natural Immunogenics Corp. v. Newport Trial Group, et al.

Inc., v. Glob. Eagle Entm’t., Inc., 117 F. Supp. 3d 1092, 1113 (C.D. Cal. 2015) (quoting
Prof’l Real Estate Investors, 508 U.S. at 60-61). On the second prong, the plaintiff must
show that the defendant brought the lawsuit “with the specific intent to further wrongful
conduct through the use of governmental process -- as opposed to the outcome of that
process.” Nader v. Democratic Nat’l Comm., 567 F.3d 692, 696 (D.C. Cir. 2009).

      Here, Natural-Immunogenics specifically alleges that (1) the Nilon, Chromadex,
Carter-Reed, Himalaya Drug, Nutrisystem, Nature’s Way, Kiss My Face, and Bobba
actions all lacked probable cause because the material allegations supporting the class
representative’s claims in the operative complaint were intentionally false; and (2) the
NTG Defendants filed these fraudulent lawsuits with the improper purpose to extract out-
of-court settlement from the corporate defendants in these lawsuits. See, e.g., Docket No.
92 ¶¶ 51, 60-62. At the pleading stage, these allegations are sufficient to invoke the first
sham litigation exception. The NTG Defendants may attack the truth of these allegations
on summary judgment.

      In their reply, the NTG Defendants argue that the first and second sham litigation
exceptions do not apply outside the antitrust cases, and Natural-Immunogenics has
otherwise failed to adequately allege reliance in the context of the third sham exception.
Docket No. 139 at 8-12. The Court disagrees.

        “The [Noerr-Pennington] doctrine derives from two Supreme Court cases holding
that the First Amendment Petition Clause immunizes acts of petitioning the legislature
from antitrust liability.” UMG Recordings, 117 F. Supp. 3d at 1112 (citing Sosa, 437
F.3d at 929). “The classic case included one company’s petitioning a branch of
government to influence legislation or law regulating that company. In response,
companies in the same market would bring suit against the petitioning company, alleging
its efforts to influence legislation violated the Sherman Act.” Moore v. Saniefar, 2016
WL 2764768, at *5 (E.D. Cal. May 12, 2016) (internal citations omitted). However,
“[t]he doctrine has since been applied to actions petitioning each of the three branches of
government, and has been expanded beyond its original antitrust context.” Theme
Promotions, Inc. v. News America Marketing FSI, 546 F.3d 991, 1007 (9th Cir. 2008).
As the Ninth Circuit has made clear, “the Noerr-Pennington doctrine [now] stands for a
generic rule of statutory construction, applicable to any statutory interpretation that could
implicate the rights protected by the Petition Clause.” Sosa, 437 F.3d at 931.
CV-90 (06/04)                           CIVIL MINUTES - GENERAL                          Page 9 of 33
    Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 10 of 33 Page ID
                                      #:4968

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title          Natural Immunogenics Corp. v. Newport Trial Group, et al.

       As courts have expanded the scope of the Noerr-Pennington doctrine, courts have
also expanded the scope of the sham litigation exception. In Kottle v. Northwest Kidney
Centers, the Ninth Circuit reviewed then-prevailing U.S. Supreme Court and Ninth
Circuit to summarize the sham litigation exception in the antitrust context. 146 F.3d
1056, 1060-61 (9th Cir. 1998). To that end, Kottle formulated the sham litigation
exception as follows:

                 When the branch of government involved is a court of law, this
                 circuit recognizes three circumstances in which an antitrust
                 defendant’s activities might fall into the sham exception.

                 First, if the alleged anticompetitive behavior consists of bringing
                 a single sham lawsuit (or a small number of such suits), the
                 antitrust plaintiff must demonstrate that the lawsuit was (1)
                 objectively baseless, and (2) a concealed attempt to interfere with
                 the plaintiff’s business relationships.

                 Second, if the alleged anticompetitive behavior is the filing of a
                 series of lawsuits, the question is not whether any one of them has
                 merit-some may turn out to, just as a matter of chance-but whether
                 they are brought pursuant to a policy of starting legal proceedings
                 without regard to the merits and for the purpose of injuring a
                 market rival.

                 [Third], in the context of a judicial proceeding, if the alleged
                 anticompetitive behavior consists of making intentional
                 misrepresentations to the court, litigation can be deemed a sham
                 if a party’s knowing fraud upon, or its intentional
                 misrepresentations to, the court deprive the litigation of its
                 legitimacy.

Id. at 1060 (internal citations and quotation marks omitted) (emphases added). Eight
years later in Sosa, the Ninth Circuit re-formulated the sham litigation exception to apply
broadly outside the antitrust context:

CV-90 (06/04)                           CIVIL MINUTES - GENERAL                         Page 10 of 33
    Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 11 of 33 Page ID
                                      #:4969

                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.           SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title              Natural Immunogenics Corp. v. Newport Trial Group, et al.

                     In Kottle, we identified three circumstances in which the sham
                     litigation exception might apply: first, where the lawsuit is
                     objectively baseless and the defendant’s motive in bringing it was
                     unlawful, second, where the conduct involves a series of lawsuits
                     brought pursuant to a policy of starting legal proceedings without
                     regard to the merits and for an unlawful purpose, and third, if the
                     allegedly unlawful conduct consists of making intentional
                     misrepresentations to the court, litigation can be deemed a sham
                     if a party’s knowing fraud upon, or its intentional
                     misrepresentations to, the court deprive the litigation of its
                     legitimacy.

Sosa, 437 F.3d at 938 (internal citations and quotation marks omitted) (emphases added).
Unlike Kottle’s narrow antitrust formulation, which required the plaintiff to allege intent
to harm competition, Sosa’s broader formulation does not require the plaintiff to allege
anticompetitive intent to invoke the first sham litigation exception. Instead, Sosa requires
only an unlawful motive or purpose generally. Id. Then, approximately three years later
in Kearney, the Ninth Circuit confirmed that the sham litigation exception applied to
RICO claims. Kearney v. Foley & Lardner LLP, 590 F.3d 638, 648 (9th Cir. 2008) (“In
Kottle . . ., the Ninth Circuit identified three circumstances in which the sham litigation
exception might apply. . . . We are persuaded that Defendants’ alleged misconduct here
was precisely the sort the sham exception was created to address.”); Moore v. Saniefar,
2016 WL 2764768, at *6 (E.D. Cal. May 12, 2016) (“The Circuit later clarified that the
sham exception does apply to RICO claims in Kearney v. Foley & Lardner LLP, 590
F.3d 638 (9th Cir. 2009).”). In doing so, Kearney nowhere stated that the first and second
sham litigation exceptions do not apply to RICO claims.5 Rather, Kearney expressly
stated that the sham litigation exception will apply when the defendant’s alleged
misconduct raises the problems that the exception was created to address: namely, filing
baseless lawsuits for improper purposes. Kearney, 590 F.3d at 646 (“We are persuaded
that Defendants’ alleged misconduct here was precisely the sort the sham exception was


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               In Kearney, the only ground raised by the parties was the
    third exception. 590 F.3d at 646 (“[T]he Ninth Circuit identified three
    circumstances in which the sham litigation exception might apply. Kearney argues for the third
    here[.]”).
CV-90 (06/04)                               CIVIL MINUTES - GENERAL                           Page 11 of 33
    Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 12 of 33 Page ID
                                      #:4970

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title          Natural Immunogenics Corp. v. Newport Trial Group, et al.

created to address.”). Consistent with Sosa and Kearney, federal district courts have since
applied the first and second sham litigation exceptions outside the antitrust context. See,
e.g., UMG Recordings, 117 F. Supp. 3d at 1113-14 (applying such exceptions to federal
and state law claims for copyright infringement). The NTG Defendants have provided no
reason showing why, under Sosa and Kearney, the first sham litigation exception should
not also apply here. The Court therefore rejects the NTG Defendants’ argument that the
first sham litigation exception does not apply here.

                        3.1.1.2.     Predicate acts

      The NTG Defendants next argue that, even if the Noerr-Pennington doctrine does
not apply, Natural-Immunogenics’s second amended complaint has failed to allege that
they committed any predicate RICO acts in connection with the Nilon, Chromadex,
Nature’s Way, Kiss My Face, Carter-Reed, Himalaya Drug, Bobba, and Nutrisystem
actions. The Court disagrees.

                              3.1.1.2.1.      Mail and wire fraud

       Natural-Immunogenics alleges mail and wire fraud in violation of 18 U.S.C. §§
1341, 1343. Docket No. 92 ¶¶ 368(b),(d)-(f), (h), (l), 369(c), 370(b)-(c), 371(b), 372(b),
373(b)-(d), 374(b)-(j), 375(b). The federal mail fraud statute prohibits parties from using
the United States mails to carry out fraudulent schemes. 18 U.S.C. § 1341. The federal
wire fraud statute similarly prohibits parties from using the United States wires to carry
out fraudulent schemes. Id. § 1343. “The mail and wire fraud statutes are identical except
for the particular method used to disseminate the fraud . . . .” Eclectic Properties E., LLC
v. Marcus & Millichap Co., 751 F.3d 990, 997 (9th Cir. 2014). To allege mail and wire
fraud, the plaintiff must allege the defendant (1) formed a scheme to defraud; (2) used the
United States mails or wires to carry out the scheme; and (3) had the specific intent to
defraud. Id. Moreover, mail and wire fraud claims are subject to the heightened pleading
requirements under Rule 9(b). Cty. of Marin v. Deloitte Consulting LLP, 836 F. Supp. 2d
1030, 1038 (N.D. Cal. 2011). Accordingly, to survive dismissal under Rule 9(b), the
plaintiff must allege “the time, place, and specific content of the false representations as
well as the identities of the parties to the misrepresentation.” Sanford v. MemberWorks,
Inc., 625 F.3d 550, 558 (9th Cir. 2010) (internal quotation marks and citations omitted).
The complaint must also allege “why [the] statement or omission complained of was false
CV-90 (06/04)                              CIVIL MINUTES - GENERAL                      Page 12 of 33
    Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 13 of 33 Page ID
                                      #:4971

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title          Natural Immunogenics Corp. v. Newport Trial Group, et al.

and misleading.” In re GlenFed, Inc. Sec. Litig., 42 F.3d 1541, 1548 (9th Cir. 1994) (en
banc).

        Here, Natural-Immunogenics adequately alleges mail and wire fraud under Rule
9(b). For each lawsuit identified in Natural-Immunogenics’s second amended complaint,
Natural-Immunogenics alleges that (1) the NTG Defendants created a scheme to file or
threaten to file fraudulent lawsuits against corporate defendants to extract out-of-court
settlements from these corporations; (2) the NTG Defendants used the United States
mails and wires to carry out the scheme; and (3) the NTG Defendants had the specific
intent to defraud these corporations. E.g., Docket No. 92 ¶¶ 52-56. Natural-
Immunogenics’s mail and wire fraud allegations also satisfy Rule 9(b)’s heightened
pleading standards. Again, for each lawsuit identified in Natural-Immunogenics’s second
amended complaint, Natural-Immunogenics specifically alleges (1) who committed the
alleged fraud: the Newport Trial Group, Scott Ferrell, Ryan Ferrell, Reid, or Knowles; (2)
what the alleged fraudulent conduct was: sending demand letters and/or filing court
documents that contained intentional false representations; (3) where the alleged fraud
took place: via mail communications between the NTG Defendants and defendant
corporations or via electronic court filings; and (4) when the alleged fraud occurred: at
specific dates and times from July 2010 to April 2015. E.g., Id. ¶¶ 57-67. Natural-
Immunogenics further alleges why the NTG Defendants’ conduct was fraudulent. For
example, in the false advertising cases, the plaintiffs would falsely represent that (1) they
purchased the defendant’s product in reliance on the defendant’s product labels and
advertisements; (2) the product did not work as advertised; and (3) they were injured as a
result of their reliance. E.g., id. ¶¶ 60-65. Likewise, in the wiretapping cases, the
plaintiffs would falsely represent that (1) they were not aware that their call to the
defendants was being recorded; (2) they did not consent to the recording; and (3) they
later learned that the company recorded all incoming calls only after completing the call.
E.g., id. ¶¶ 154-158. These allegations are sufficient to allege mail and wire fraud.

        The NTG Defendants’ motion to dismiss primarily argues that Natural-
Immunogenics has failed to allege reliance. See, e.g., Docket No. 120 at 10 (“Moreover,
since [Natural-Immunogenics] did not settle the case, it could not have relied on the
statements in the demand letter . . . .”); id. at 18 (“[Natural-Immunogenics], however,
fails to allege any facts showing that Nature’s Way relied on the allegedly false
statements in the demand letter in deciding to settlement with Pfleg.”); id. at 26 (“While
CV-90 (06/04)                           CIVIL MINUTES - GENERAL                         Page 13 of 33
    Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 14 of 33 Page ID
                                      #:4972

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title          Natural Immunogenics Corp. v. Newport Trial Group, et al.

[Natural-Immunogenics] alleges that the Demulder complaint contained false allegations,
it does not allege the defendant Carter-Reed relied on those allegations as part of any
settlement.”). This argument misstates the law. Natural-Immunogenics does not need to
allege reliance under the federal mail and wire fraud statutes. Neder v. United States, 527
U.S. 1, 24, 25 (1999) (“The common-law requirements of ‘justifiable reliance’ and
‘damages,’ for example, plainly have no place in the federal fraud statutes.”); United
States v. Lindsey, --- F.3d ---, 2016 WL 3536659, at *3 (9th Cir. June 28, 2016) (“In
sum, the government does not have to prove actual reliance upon the defendant’s
misrepresentations to satisfy the element of materiality.” (internal quotation marks
omitted)). United States v. Williams, 492 F. App’x 777, 778 (9th Cir. 2012)
(unpublished) (“It is well-established that reliance is not a required element of wire
fraud.”). Rather, Natural-Immunogenics need only provide specific allegations about who
engaged in the alleged fraud, what the alleged fraudulent conduct was, where the alleged
fraud took place, when the alleged fraud took place, and why the conduct was fraudulent.
Sanford, 625 F.3d at 558; In re GlenFed, Inc. Sec. Litig., 42 F.3d at 1548. Natural-
Immunogenics has done that here.

        The NTG Defendants’ motion to dismiss also argues that Natural-Immunogenics
has failed to allege that the presiding courts in each action relied on the NTG Defendants’
fraudulent representations. See, e.g., Docket No. 120 at 12 (“[Natural-Immunogenics]
fails to allege facts showing how the District Court relied on any particular false
statements in the Motion to Certify or that any particular false statement deprived the
litigation of its legitimacy.”). This argument is misplaced. The presiding court’s reliance
is only relevant under the third sham litigation exception to the Noerr-Pennington
doctrine. This is because, under the third sham litigation exception, the plaintiff must
allege that the “party’s knowing fraud upon, or its intentional misrepresentations to, the
court deprive[d] the litigation of its legitimacy.” Sosa, 437 F.3d at 938 (internal quotation
marks omitted). Here, however, Natural-Immunogenics has successfully invoked the first
sham litigation exception. See Section 3.1.1.1, supra. And under the first sham litigation
exception, the plaintiff does not need to allege reliance; rather, the plaintiff need only
allege that “the lawsuit is objectively baseless and the defendant’s motive in bringing it
was unlawful.” Sosa, 437 F.3d at 938. Accordingly, Natural-Immunogenics’s alleged
failure to allege reliance by the presiding court does not affect the viability of its fraud
claims here.

CV-90 (06/04)                           CIVIL MINUTES - GENERAL                         Page 14 of 33
    Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 15 of 33 Page ID
                                      #:4973

                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.           SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title              Natural Immunogenics Corp. v. Newport Trial Group, et al.

                                  3.1.1.2.2.      Extortion

       In addition to mail and wire fraud, Natural-Immunogenics also alleges that the
NTG Defendants engaged in extortion in violation of the federal Hobbs Act, 18 U.S.C. §
1951. Docket No. 92 ¶¶ 369(b), 370(d), 371(c), 372(c), 373(e), 374(n), 375(c). To state a
claim for extortion, the plaintiff must allege that (1) the defendant took or attempted to
take another person’s property using the threat of nonviolent, economic harm; (2) the
defendant intended to take the property; and (3) the extortion affected interstate
commerce. Id. In the Ninth Circuit, threatening to file costly lawsuits will constitute
extortion so long as the threatened lawsuit is a sham. See Sosa, 437 F.3d at 939-40
(“Applying the Noerr-Pennington statutory construction presumption, we do not believe
the Hobbs Act imposes liability for threats of litigation where the asserted claims do not
rise to the level of a sham.” (emphasis added)). In their motion to dismiss, the NTG
Defendants argue that Natural-Immunogenics has not alleged extortion in connection
with the Chromadex and Kiss My Face actions because Natural-Immunogenics has failed
to specifically allege the circumstances regarding the NTG Defendants’ alleged threats in
both actions.6 Docket No. 120 at 21, 26. The Court disagrees.

       Typically, extortion claims are not subject to Rule 9(b)’s heightened pleading
standard. Chiropractic All. of New Jersey v. Parisi, 854 F. Supp. 299, 308 (D. N.J. 1994)
(“The allegations of theft by extortion, for example, are properly governed by the more
lenient pleading requirement of Fed. R. Civ. P. 8.”); see Planned Parenthood of
Columbia/Willamette, Inc. v. Am. Coal. of Life Activists, 945 F. Supp. 1355, 1379-80
(D. Or. 1996) (“[W]here the alleged RICO predicate acts do not involve fraud, the more
lenient pleading standard in Rule 8(a) applies.”). However, as the Court explained in its
previous dismissal order, Rule 9(b)’s heightened pleading standard will apply to extortion
allegations when, as here, the alleged extortion is based on fraudulent conduct. Docket
No. 88-1 at 11 n.8. Natural-Immunogenics has specifically alleged extortion under Rule
9(b).



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           Apart from Chromadex and Kiss My Face, the NTG Defendants’
    motion to dismiss does not challenge the sufficiency of Natural-
    Immunogenics’s extortion allegations regarding the Nilon, Carter-
    Reed, Himalaya Drug, Nutrisystem, Nature’s Way, and Bobba
    actions.
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                      Page 15 of 33
    Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 16 of 33 Page ID
                                      #:4974

                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.           SACV 15-02034 JVS(JCGx)                                Date   August 1, 2016

 Title              Natural Immunogenics Corp. v. Newport Trial Group, et al.

       Regarding Chromadex, Natural-Immunogenics has specifically alleged (1) who
threatened Chromadex: Scott Ferrell; (2) what the alleged wrongful threat was: a threat to
file another fraudulent class action lawsuit against Chromadex on behalf of a new class
representative; (3) where the alleged threat was made: via wire communication from
Scott Ferrell to Chromadex representatives; (4) when the alleged threat was made: after
Newport Trial Group, Scott Ferrell, Reid, and Knowles voluntarily dismissed their first
putative class action complaint against Chromadex on May 23, 2013, but before the
parties entered into a settlement agreement on August 2013; and (5) why the alleged
threat was fraudulent: Ferrell falsely represented that the Newport Trial Group could
pursue class litigation on behalf of a new class representative. Docket No. 92 ¶¶ 161-167.
These allegations satisfy Rule 9(b).

       Regarding Kiss My Face, Natural-Immunogenics has specifically alleged (1) who
threatened Kiss My Face: the Newport Trial Group, Scott Ferrell, and Knowles; (2) what
the alleged wrongful threat was: a threat to file a fraudulent class action lawsuit against
Kiss My Face; (3) where the alleged threat was made: via a demand letter from Newport
Trial Group, Scott Ferrell, and Knowles to representatives for Kiss My Face; and (4)
when the alleged threat was made: after the Newport Trial Group, Scott Ferrell, Reid, and
Knowles developed the scheme to defraud Kiss My Face in early 2012, but before they
filed the complaint against Kiss My Face on May 11, 2012; and (5) why the alleged threat
was fraudulent: the demand letter made intentional false representations regarding the
named plaintiff’s claims in the potential lawsuit.7 Id. ¶¶ 204, 207-08. Again, these
allegations satisfy Rule 9(b).

                                  3.1.1.2.3.      Obstruction of justice and witness tampering

       Natural-Immunogenics alleges obstruction of justice and witness tampering in
violation of 18 U.S.C. §§ 1503, 1512(b)-(c) against the NTG Defendants. Docket No. 92
¶¶ 368(g), (i), (m)-(n), 374(k)-(m). To allege obstruction of justice in violation of section
1503, the plaintiff must allege that (1) the defendant influenced, obstructed, or impeded,

                7
           Natural-Immunogenics’s second amended complaint alleges
    that the demand letter “communicate[d] the false claims to Kiss
    My Face and demand settlement.” Docket No. 92 ¶ 208. The
    following paragraph then specifically identifies four such false
    claims. See id. ¶ 209.
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                       Page 16 of 33
    Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 17 of 33 Page ID
                                      #:4975

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title          Natural Immunogenics Corp. v. Newport Trial Group, et al.

or attempted to influence, obstruct, or impede, the due administration of justice (2) with
the corrupt intent to obstruct justice. 18 U.S.C. § 1503. Similarly, to allege obstruction of
justice in violation of section 1512(c), the plaintiff must allege that the defendant (1)
corruptly (2) obstructed, influenced, or impeded, or attempted to influence, obstruct or
impede (3) any official proceeding. Id. § 1512(c). Lastly, to allege witness tampering in
violation of section 1512(b), the plaintiff must allege that the defendant (1) persuaded or
attempted to persuade a witness (2) with the corrupt intent to either influence the
witness’s testimony or cause that witness to withhold testimonial or documentary
evidence. 18 U.S.C. § 1512(b). To allege obstruction of justice or witness tampering
under sections 1503 or 1512(b)-(c), the plaintiff does not need to show that the
defendant’s attempts to obstruct justice or tamper with witnesses actually affected the
outcome of the legal proceedings. See United States v. Reich, 479 F.3d 179, 186 (2d Cir.
2007) (Sotomayor, J.).

      In their motion to dismiss, the NTG Defendants argue, on various grounds, that
Natural-Immunogenics has failed to allege obstruction of justice or witness tampering in
connection with the Nilon action. The Court rejects this argument.

       The NTG Defendants first argue that Natural-Immunogenics has failed to allege
obstruction of justice or witness tampering in connection with Nilon’s four missed
depositions, for three independent reasons: (1) missing depositions is not an indictable
offense; (2) Natural-Immunogenics fails to allege how Ryan Ferrell engaged in
misleading conduct; and (3) Natural-Immunogenics alleges obstruction of justice and
witness tampering against Ryan Ferrell on information and belief, but fails to identify the
specific information forming the basis for its belief. Docket No. 120 at 13-14. All three
arguments fail. Regarding Nilon’s four missed depositions, Natural-Immunogenics’s
second amended complaint alleges on information and belief that (1) Ryan Ferrell
fraudulently cancelled four scheduled depositions with Nilon (2) with the specific intent
to prevent Nilon from testifying and producing documents showing that the allegations in
the the Nilon complaint were intentionally false. Docket No. 92 ¶¶ 81-93. Fraudulently
canceling depositions to prevent the deponent from testifying constitutes obstruction of
justice and witness tampering under federal law. See United States v. Washington Water
Power Co., 793 F.2d 1079, 1085 (9th Cir. 1986) (rejecting argument that “section 1503 . .
. but does not apply to cases in which the witness asks a defendant to aid him in an
attempt to avoid testifying”); United States v. Lester, 749 F.2d 1288, 1293 (9th Cir. 1984)
CV-90 (06/04)                           CIVIL MINUTES - GENERAL                         Page 17 of 33
    Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 18 of 33 Page ID
                                      #:4976

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title          Natural Immunogenics Corp. v. Newport Trial Group, et al.

(“The omnibus clause of section 1503, by contrast, is broader. It reaches conduct that
corruptly . . . endeavors to influence, obstruct, or impede, the due administration of
justice . . . . This provision includes noncoercive witness tampering[.]” (internal quotation
marks omitted)). Natural-Immunogenics also alleges the various specific information that
forms its belief, including an order sanctioning Ryan Ferrell for his role in Nilon’s
unjustified pattern of cancelling depositions. Id. ¶ 93.

       The NTG Defendants next argue that Natural-Immunogenics has failed to allege
obstruction of justice or witness tampering against Ryan Ferrell in connection with the
declaration that Nilon submitted in support of his motion to substitute as class
representative. Docket No. 120 at 14. Specifically, the NTG Defendants argue that
Natural-Immunogenics has failed to allege the information forming the basis for its
allegations against Ryan Ferrell. Id. This argument too fails. Regarding Nilon’s
declaration, Natural-Immunogenics alleges on information and belief that (1) in
connection with his substitution motion, Nilon executed a false declaration stating that he
was no longer able to serve as class representative because of his sick grandmother; (2)
Ryan Ferrell drafted the false declaration with the specific intent of avoiding dismissal of
the Nilon action for lack of a valid class representative; (3) Ryan Ferrell instructed
Baslow to inform Nilon that he must execute the false declaration if he wished to
withdraw as class representative; and (4) Nilon executed the false declaration to withdraw
as class representative. Id. ¶¶ 94-104. Natural-Immunogenics also alleges the specific
information that forms its belief, including that Ryan Ferrell signed the motion and
Demulder, another member of the alleged RICO enterprise, filed a similar false affidavit
in connection with a remand motion in the Carter-Reed action. Id. ¶ 98.

       Lastly, the NTG Defendants argue that Natural-Immunogenics has failed to allege
obstruction of justice or witness tampering against Ryan Ferrell in connection with
Sandoval’s April 2015 deposition testimony because Natural-Immunogenics fails to
identify the specific information forming the basis for these allegations against Ryan
Ferrell. Docket No. 120 at 15. Like the previous two, this argument also fails. Regarding
Sandoval’s deposition, Natural-Immunogenics has alleged on information and belief that
(1) during the deposition, Sandoval repeatedly lied under oath about his residency in
California, purchase of Sovereign Silver products, and reliance on Sovereign Silver
advertisements and labels, and (2) Ryan Ferrell suborned Sandoval’s perjury by bribing
him to make this false testimony. Docket No. 92 ¶ 132. Natural-Immunogenics also
CV-90 (06/04)                           CIVIL MINUTES - GENERAL                         Page 18 of 33
    Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 19 of 33 Page ID
                                      #:4977

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title          Natural Immunogenics Corp. v. Newport Trial Group, et al.

alleges the specific information that forms the basis for these allegations, including that
Ryan Ferrell was counsel for Sandoval in the Nilon action, he defended Sandoval at the
deposition, and, throughout the deposition, Sandoval misrepresented basic facts
establishing his fitness to serve as class representative in Nilon (including, for example,
by misrepresenting his residency in California and failing to produce any proof
supporting his allegation that he purchased Sovereign Silver products in California). Id.
¶¶ 127-130.

                              3.1.1.2.4.      Bribery

       Lastly, Natural-Immunogenics alleges bribery in violation of 18 U.S.C. § 201
against the NTG Defendants. Docket No. 92 ¶¶ 368(c), (j), 369(a), 370(a), 371(a), 372(a),
373(a), 374(a), 375(a). The federal bribery statute prohibits parties from promising
witnesses money with the intent to influence witness testimony. See 18 U.S.C. § 201. To
allege bribery in violation of section 201, the plaintiff must allege that (1) the defendant
gave, offered, or promised to give the witness something of value (2) with the corrupt
intent to influence the witness’s testimony. 18 U.S.C. § 201(b)(3). This requires the
plaintiff to allege “what testimony was obtained, what item of value was exchanged, or
what promises were made.” E. Sav. Bank, FSB v. Papageorge, 31 F. Supp. 3d 1, 15
(D.D.C. 2014), aff’d, 629 F. App’x 1 (D.C. Cir. 2015).

       Natural-Immunogenics has adequately alleged bribery here. For each lawsuit
identified in Natural-Immunogenics’ second amended complaint, Natural-Immunogenics
alleges that (1) certain NTG Defendants paid or promised to pay the named plaintiffs and
class representatives in each action (2) in exchange for their promise to provide
intentionally false testimony supporting the NTG Defendants’ claims in that action. E.g.,
Docket No. 289. This is sufficient to allege bribery.

       The NTG Defendants’ motion to dismiss argues that Natural-Immunogenics does
not allege bribery because it has failed to identify the specific false testimony that the
NTG Defendants intended to corruptly influence. E.g., Docket No. 120 at 10 (“[Natural-
Immunogenics] does not identify any specific ‘testimony under oath’ that the NTG
Defendants intended to corruptly influence, referring instead only generally to ‘false
declarations,’ ‘false deposition testimony’ ‘and/or’ ‘false trial testimony.’” (quoting
Docket No. 92 ¶ 56)). The Court rejects this argument. The Court has found no case
CV-90 (06/04)                              CIVIL MINUTES - GENERAL                      Page 19 of 33
    Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 20 of 33 Page ID
                                      #:4978

                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.           SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title              Natural Immunogenics Corp. v. Newport Trial Group, et al.

applying Rule 9(b)’s heightened pleading standards to bribery. Current case law provides
that, to allege bribery, Natural-Immunogenics need only identify “what [false] testimony
was obtained” in exchange for the NTG Defendants’ promise of payment. Papageorge, 31
F. Supp. 3d at 15. Here, on the basis of the second amended complaint’s allegations, the
Court can reasonably infer that the alleged false testimony includes, at minimum,
deposition, declaration, and trial testimony supporting the material allegations in the
NTG Defendants’ complaint in that particular action. This testimony will be different
from action to action. For example, in Nilon, the false testimony would necessarily
include testimony that (1) Nilon purchased the Sovereign Silver product in California; (2)
Nilon relied on representations made by Natural-Immunogenics when purchasing the
Sovereign Silver product; and (3) Nilon’s experience purchasing the Sovereign Silver
product was similar to that of other class members. See Docket No. 92 ¶¶ 60-66
(describing allegations in the Nilon state court complaint). This level of specificity is
sufficient here.

                     3.1.2.       Pattern of racketeering activity

       The NTG Defendants next move to dismiss for failure to allege a pattern of
racketeering activity. Docket No. 120 at 16-28. The RICO statute defines “pattern of
racketeering activity” to require that the defendant at least commit “two acts of
racketeering activity” within ten years of each other. 18 U.S.C. § 1961(5). By itself,
proving two predicate acts isn’t sufficient to establish a pattern, however. H.J. Inc. v. Nw.
Bell Tel. Co., 492 U.S. 229, 238 (1989). To allege a “pattern of racketeering activity,” the
plaintiff must also allege that the predicate acts were “related” and “continuous.” Id.
Here, the NTG Defendants argue that there is no pattern of racketeering activity because
the false advertising scheme, the wiretapping scheme, and the individual lawsuits making
up both schemes were not “related.” Docket No. 120 at 16-28.8 The Court disagrees.




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           The NTG Defendants also argue that there is no pattern of
    racketeering activity because Natural-Immunogenics has failed to
    allege any predicate acts in connection with the Chromadex,
    Carter-Reed, Himalaya Drug, Nutrisystem, Nature’s Way, Kiss My
    Face, and Bobba actions. Docket No. 120 at 16-28. The Court
    considered these arguments in Section 3.1.1.2, supra.
CV-90 (06/04)                               CIVIL MINUTES - GENERAL                         Page 20 of 33
    Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 21 of 33 Page ID
                                      #:4979

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title          Natural Immunogenics Corp. v. Newport Trial Group, et al.

       “The relatedness test is not a cumbersome one for a RICO plaintiff.” Feinstein v.
Resolution Trust Corp., 942 F.2d 34, 44 (1st Cir. 1991). Accordingly, “[w]hether the
predicate acts alleged or proven are sufficiently related is seldom at issue.” Medallion
Television Enter., Inc. v. SelecTV of Cal., Inc., 833 F.2d 1360, 1364 (9th Cir. 1987). To
determine whether predicate acts are related, courts must take a “flexible” approach that
considers whether the alleged predicate acts have the “same or similar purposes, results,
participants, victims, or methods of commission, or otherwise are interrelated by
distinguishing characteristics and are not isolated events.” H.J., 492 U.S. at 240 (quoting
former 18 U.S.C. § 3575(e)).

       Natural-Immunogenics has alleged relatedness here. The NTG Defendants’ alleged
fraudulent scheme involves similar participants (Newport Trial Group and certain of its
attorneys, an investigator employed by the Newport Trial Group, and a group of friends,
associates, and family members serving as named plaintiffs) through similar methods of
commission (using fraudulent plaintiffs to file or threaten to file class action lawsuits
against corporate defendants under California consumer protection statutes) with similar
victims (corporations doing business in California) for similar purposes (to extract out-of-
court settlements). These allegations are sufficient to show relatedness under the U.S.
Supreme Court’s “flexible” approach to relatedness. See Medallion Television
Enterprises, Inc. v. SelecTV of California, Inc., 833 F.2d 1360, 1363 (9th Cir. 1987)
(“There is no question that the predicate acts were related: all were directed toward
inducing Medallion to enter the joint venture and to provide funds to obtain the telecast
rights.”); Cal. Architectural Bldg. Products, Inc. v. Franciscan Ceramics, Inc., 818 F.2d
1466 (9th Cir. 1987) (finding relatedness when defendant tile manufacturer induced
plaintiff ceramic tile dealers to stock tile based on false promises that it would continue to
supply tile); Monterey Bay Military Hous., LLC v. Pinnacle Monterey LLC, 116 F. Supp.
3d 1010, 1047 (N.D. Cal. 2015), order vacated in part on reconsideration on unrelated
grounds, 2015 WL 4624678 (N.D. Cal. Aug. 3, 2015) (finding relatedness when alleged
insurance fraud scheme involved similar participants to defraud plaintiff by purposefully
concealing overcharges in connection with contracted-for services under the defendant’s
control). The fact that the false advertisement scheme and the wiretapping scheme
involved different legal claims requiring different kinds of proof, and that the individual
actions were resolved differently, does not show that the schemes were unrelated.


CV-90 (06/04)                           CIVIL MINUTES - GENERAL                         Page 21 of 33
    Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 22 of 33 Page ID
                                      #:4980

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title          Natural Immunogenics Corp. v. Newport Trial Group, et al.

       The NTG Defendants’ motion to dismiss focuses on one case in particular, Carter-
Reed. Docket No. 120 at 27. The NTG Defendants argue that, at mininum, the Carter-
Reed action does not belong to the same pattern of racketeering activity as the other
lawsuits identified in the second amended complaint because, unlike the others, the
Newport Trial Group did not represent Demulder in Carter-Reed; rather, Demulder was
represented by the non-party law firm Kirtland & Packard LLP in that action. Id. The
Court rejects this argument. Under the “flexible” approach for relatedness, Natural-
Immunogenics has alleged enough facts establishing that, despite Kirtland & Packard’s
representation of Demulder, the Carter-Reed action nevertheless belongs to the same
pattern of racketeering activity as the others. H.J., 492 U.S. at 240. For example, as with
the other wiretapping actions, Natural-Immunogenics alleges that Baslow instructed
Demulder on how to bypass Carter-Reed’s automatic disclosure recording, and then
bribed Demulder to stage private phone calls to Carter-Reed. Docket No. 92 ¶¶ 222-31.
Moreover, Natural-Immunogenics has also alleged extensive facts suggesting that
Newport Trial Group worked closely with Kirtland & Packard to carry out the NTG
Defendants’ fraudulent scheme. This includes allegations that (1) Newport Trial Group
served as co-counsel with Kirtland & Packard in Kiss My Face; (2) Newport Trial Group
provided Kirtland & Packard with information about Demulder’s fraudulent claims
approximately one week before Kirtland & Packard filed suit on Demulder’s behalf in
Carter-Reed; and (3) Newport Trial Group represented Demulder as the defendant in
Carter-Reed Co. v. Demulder, No. 130903002 (Dist. Ct. Salt Lake Cty. 2013), an action
alleging abuse of process for his false claims in Carter-Reed. Id. ¶¶ 205, 232, 246-47.
Taken together, these allegations show that Carter-Reed is sufficiently related to the other
actions identified in the second amended complaint. Moreover, even if the Court’s
conclusion were to the contrary, Natural-Immunogenics has still pled an actionable
pattern of racketeering activity.

         3.2.           RICO claims against Knowles

      In addition to the arguments above, the NTG Defendants seek to dismiss all RICO
claims against Knowles for failure to allege that (1) Knowles committed two or more
predicate RICO acts or (2) Knowles directed the alleged fraudulent scheme. Docket No.
120 at 28-30.


CV-90 (06/04)                           CIVIL MINUTES - GENERAL                         Page 22 of 33
    Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 23 of 33 Page ID
                                      #:4981

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title          Natural Immunogenics Corp. v. Newport Trial Group, et al.

       The Court dismisses Natural-Immunogenics’s RICO claims against Knowles for
two reasons. First, Natural Immunogenics did not respond to this argument in its
opposition. “[T]he Local Rules permit the Court [to] deem failure to oppose as consent to
the granting of the motion.” Oakley, Inc. v. Nike, Inc., 988 F. Supp. 2d 1130, 1138 (C.D.
Cal. 2013) (Selna, J.) (granting motion to judgment on the pleadings on the plaintiff’s
unfair competition and declaratory relief claims for failure to oppose). Second, and
relatedly, without an opposition, resolving the NTG Defendants’ arguments may require
the Court to manufacture complex legal arguments for Natural-Immunogenics regarding
the scope of an attorney’s RICO liability for nominal participation in the alleged
fraudulent litigation schemes. The Court will not do so here. See Western Radio Services
Co. v. Qwest Corp., 678 F.3d 970, 979 (9th Cir. 2012) (“We will not do an appellant’s
work for it . . . by manufacturing its legal arguments . . . .”). Accordingly, the Court
dismisses Natural-Immunogenics’s RICO claims against Knowles.

         3.3.           RICO conspiracy claims

        Section 1962(d) of the RICO statute allows plaintiffs to bring claims for
conspiracy to commit substantive RICO violations. Id. § 1962(d). To allege a RICO
conspiracy under section 1962(d), the plaintiff need only allege an agreement to commit a
substantive RICO violation. Oki Semiconductor Co. v. Wells Fargo Bank, 298 F.3d 768,
774-75 (9th Cir. 2002) (“It is the mere agreement to violate RICO that § 1962(d) forbids;
it is not necessary to prove any substantive RICO violations ever occurred as a result of
the conspiracy.”). “The illegal agreement need not be express as long as its existence can
be inferred from the words, actions, or interdependence of activities and persons
involved.” Id. at 775. Moreover, when, as here, the object of the conspiracy is fraudulent,
the plaintiff must allege conspiracy under Rule 9(b)’s heightened pleading standards.
Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003).

        In their motion to dismiss, the NTG Defendants argue that Natural-Immunogenics
failed to allege a RICO conspiracy between the NTG Defendants under Rule 9(b)’s
heightened pleading requirement. Docket No. 120 at 31-32. Like the NTG Defendants’
arguments regarding Knowles, Natural-Immunogenics did not address this argument in
its opposition. Natural-Immunogenics’s failure to oppose therefore is grounds to dismiss
the RICO conspiracy claims. Oakley, 988 F. Supp. 2d at 1138. However, the Court
declines to dismiss the RICO conspiracy claims on this basis, for two reasons. First,
CV-90 (06/04)                           CIVIL MINUTES - GENERAL                         Page 23 of 33
     Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 24 of 33 Page ID
                                       #:4982

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title          Natural Immunogenics Corp. v. Newport Trial Group, et al.

unlike with Knowles, the Court does not need to manufacture complex legal arguments to
determine whether Natural-Immunogenics adequately alleges RICO conspiracy under
Rule 9(b). Rather, the Court need only conduct an independent review of the allegations
in the second amended complaint. And, as described in Section 3.1.1.2, supra, Natural-
Immunogenics’s second amended complaint has exhaustively alleged that the NTG
Defendants engaged in widespread misconduct involving bribery, mail and wire fraud,
extortion, obstruction of justice, and witness tampering. The corresponding allegations
specifically describing the “words, actions, [and] interdependence of activities”
performed by the NTG Defendants in connection with this misconduct is sufficient to
allege a RICO conspiracy under Rule 9(b). Oki, 298 F.3d at 775. Second, and separately,
Natural-Immunogenics did address whether a RICO conspiracy was adequately alleged in
its opposition to the non-NTG Defendants’ Rule 12(b)(6) motion to dismiss. Docket No.
133 at 19. These arguments provide the Court with a sufficient basis for ruling on the
NTG Defendants’ corresponding Rule 12(b)(6) motion to dismiss. The Court therefore
denies the NTG Defendants’ motion to dismiss the RICO conspiracy claims.

4.       NTG Defendants’ anti-SLAPP motion to strike

       In addition to their Rule 12(b)(6) motion to dismiss, the NTG Defendants move to
strike Natural-Immunogenics’s UCL claim under the California anti-SLAPP statute.
Docket No. 122. As explained below, the Court denies the NTG Defendants’ anti-SLAPP
motion to strike in substantial part.

         4.1.    Protected Activity

        As an initial matter, the parties dispute whether the NTG Defendants meet their
initial burden of showing that their alleged misconduct was “taken in furtherance of
the[ir] right of petition or free speech.” Hilton v. Hallmark Cards, 599 F.3d 894, 903 (9th
Cir. 2009); see Docket No. 122 at 9; Docket No. 131 at 8. The Court need not address
this issue here. As explained below, even if the NTG Defendants meet their initial
burden, Natural-Immunogenics’s UCL claim is nevertheless “legally sufficient” to avoid
dismissal under the NTG Defendants’ anti-SLAPP motion. In re NCAA Student-Athlete
Name & Likeness Licensing Litig., 724 F.3d at 1273.

         4.2.    Claim on behalf of the public
CV-90 (06/04)                           CIVIL MINUTES - GENERAL                         Page 24 of 33
    Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 25 of 33 Page ID
                                      #:4983

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title          Natural Immunogenics Corp. v. Newport Trial Group, et al.


       In its second amended complaint, Natural-Immunogenics purports to bring its UCL
claim “on behalf of themselves and on behalf of the public.” Docket No. 92 at 93 ¶ 406
(emphasis added). The NTG Defendants argue that Natural-Immunogenics’s UCL claim
should be stricken to the extent it pursues claims on behalf of the general public. Docket
No. 122 at 17. The Court agrees. Section 17203 of the UCL allows plaintiffs to pursue
representative UCL claims on behalf of the general public so long as the plaintiff both
meets the UCL’s standing requirements and satisfies California’s class action
requirements under Civil Procedure Code section 382. Cal. Bus. & Prof. Code § 17203;
Arias v. Sup. Ct., 46 Cal. 4th 969, 980 (2009) (“[T]he statement in section 17203 . . . that
a private party may pursue a representative action under the [UCL] only if the party
‘complies with Section 382 of the Code of Civil Procedure’ . . . mean[s] that such an
action must meet the requirements for a class action.”). Here, however, Natural-
Immunogenics has provided no basis for the Court to find that class certification under
California law is appropriate here. Accordingly, the Court strikes the allegations in
Natural-Immunogenics’s second amended complaint that purport to bring claims on
behalf of the general public.

         4.3.    The California litigation privilege

       The NTG Defendants next argue that Natural-Immunogenics’s UCL claim should
be stricken because it is barred by California’s litigation privilege, Cal. Civ. Code
§ 47(b). Docket No. 122 at 10. The Court disagrees.

        California’s litigation privilege provides absolute immunity for communications
made during litigation. Cal. Civ. Code § 47(b); Rubin v. Green, 4 Cal. 4th 1187, 1193
(1993). California’s litigation privilege applies broadly, and has been “held applicable to
any communication, whether or not it amounts to a publication.” Silberg v. Anderson,
50 Cal. 3d 205, 212 (1990) (citations omitted). Courts have recognized two exceptions to
the litigation provision, however. First, the litigation privilege does not apply to state law
malicious prosecution claims. Id.; Pacific Gas & Elec. Co. v. Bear Stearns & Co., 50 Cal.
3d 1118 (1990). Second, the litigation privilege does not apply to federal law claims,
including RICO. William Villa v. Heller, 885 F. Supp. 2d 1042, 1051-52 (S.D. Cal. 2012)
(“RICO preempts the state litigation privilege.”). Here, Natural-Immunogenics’s UCL

CV-90 (06/04)                           CIVIL MINUTES - GENERAL                         Page 25 of 33
    Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 26 of 33 Page ID
                                      #:4984

                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.           SACV 15-02034 JVS(JCGx)                                 Date    August 1, 2016

 Title              Natural Immunogenics Corp. v. Newport Trial Group, et al.

claim is based entirely on its malicious prosecution and RICO claims.9 Docket No. 92 at
93 ¶¶ 404-04. Accordingly, the litigation privilege does not apply to either claim. Silberg,
50 Cal. 3d at 212; William Villa, 885 F. Supp. 2d at 1051-52.

        In their anti-SLAPP motion, the NTG Defendants argue that the UCL claim
remains subject to the litigation privilege because UCL claims, even when based on
underlying federal and state law claims that are themselves not subject to the litigation
privilege, are still subject to California state law regarding privileges. This is incorrect.
Courts routinely hold that when the underlying unlawful conduct is not protected by the
litigation privilege, the corresponding UCL claim is also not protected by the litigation
privilege. See Ansari v. Elec. Document Processing Inc., 2013 WL 4647621, at *10 (N.D.
Cal. Aug. 29, 2013) (“Since Plaintiff’s UCL claim rises and falls with the viability of the
UCL claim’s predicate acts, and Plaintiff’s [other] claims do not fall under the litigation
privilege at this stage, Plaintiff’s UCL claim also does not fall under the litigation
privilege.”); Blackburn v. ABC Legal Servs., Inc., 2011 WL 8609453, at *3 (N.D. Cal.
June 16, 2011) (“[B]ecause Plaintiff’s Section 17200 claim is premised on violations of
the [California Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code § 1788 et
seq.], which this Court has determined is not barred by the litigation privilege, and on
violations of the FDCPA, a federal claim to which California’s litigation privilege is
inapplicable, Plaintiff's Section 17200 claim is not barred by the litigation privilege
either.”); Johnson v. JP Morgan Chase Bank DBA Chase Manhattan, 536 F. Supp. 2d
1207, 1213 (E.D. Cal. 2008) (denying motion to dismiss a UCL claim premised on other
federal claims because “the federal claims preempt the litigation privilege”). Accordingly,
the litigation privilege does not bar Natural-Immunogenics’s UCL claim here.

         4.4.        Standing for injunctive relief

      In the second amended complaint, Natural-Immunogenics’s UCL claim requests
injunctive relief (1) enjoining the NTG Defendants from continuing to file or threaten to

                9
               Natural-Immunogenics’s UCL claim is brought under the unfair, unlawful, and
    fraudulent prongs. Docket No. 92 at 92 ¶ 403. In their motion, the NTG Defendants do not
    specify whether they seek to strike the UCL claim in its entirety or only to the extent that it is
    brought under the “unlawful” prong. However, because the UCL claim is predicate solely on the
    litigation misconduct giving rise to the RICO and malicious prosecution claims, this does not
    affect the Court’s analysis here.
CV-90 (06/04)                               CIVIL MINUTES - GENERAL                              Page 26 of 33
    Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 27 of 33 Page ID
                                      #:4985

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title          Natural Immunogenics Corp. v. Newport Trial Group, et al.

file fraudulent consumer class action lawsuits against corporate defendants, and (2)
imposing pre-filing requirements on the NTG Defendants, including but not limited to (a)
pleading all future claims with Rule 9(b) particularity and (b) requiring disclosure of any
relevant order in this case to the court and opposing parties in any future case where the
NTG Defendants seek class certification. Docket No. 92 ¶¶ 408-09. The NTG Defendants
argue that Natural-Immunogenics lacks standing to seek injunctive relief under the UCL.
Docket No. 122 at 17. The Court disagrees.

       The plaintiff bears the burden of establishing “standing for each type of relief
sought.” Summers v. Earth Island Inst., 555 U.S. 488, 493 (2009). To establish Article III
standing, the plaintiff must allege that (1) they suffered an injury-in-fact; (2) the
defendant’s conduct caused the plaintiff’s injury; and (3) the relief that plaintiff requests
will likely redress the injury. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61
(1992). Moreover, when, as here, the plaintiff seeks injunctive relief, the plaintiff must
also demonstrate that “he has suffered or is threatened with a concrete and particularized
legal harm coupled with ‘a sufficient likelihood that he will again be wronged in a similar
way.’” Bates v. United Parcel Serv., Inc., 511 F.3d 974, 985 (9th Cir. 2007) (quoting City
of Los Angeles v. Lyons, 461 U.S. 95, 111 (1983)).

       Here, Natural-Immunogenics has sufficiently shown a threat of future harm against
the NTG Defendants. To show a threat of future harm of fraudulent litigation by the NTG
Defendants, Natural-Immunogenics alleges that (1) Natural-Immunogenics continues to
sell the Sovereign Silver products at issue in Nilon in California; (2) the NTG Defendants
continue to work as either attorneys and investigators for the Newport Trial Group; (3)
the NTG Defendants continue to prosecute fraudulent consumer protection actions
against corporate defendants; and (4) the putative class action claims in Nilon were
dismissed without prejudice with no settlement, waiver, or bar on the NTG Defendants’
right to bring subsequent consumer protection actions against Natural-Immunogenics
regarding its Sovereign Silver products. Docket No. 92 at 2-4 ¶¶ 1, 3-7, 144, 407. Taken
together, these allegations establish “sufficient likelihood” that the NTG Defendants
could again pursue fraudulent litigation against Natural-Immunogenics. Lyons, 461 U.S.
at 111. Indeed, as the NTG Defendants expressly state in their reply, “[t]he court in the
underlying case never ruled on the false advertising issue, and nothing in the prior
judgment grants Plaintiff a free pass to continue to falsely advertise its product.” Docket

CV-90 (06/04)                           CIVIL MINUTES - GENERAL                         Page 27 of 33
     Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 28 of 33 Page ID
                                       #:4986

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title          Natural Immunogenics Corp. v. Newport Trial Group, et al.

No. 138 at 13 (emphasis added). Natural-Immunogenics has therefore established Article
III standing to seek injunctive relief at the pleading stage.

        The NTG Defendants further argue that, even if Natural-Immunogenics has
standing to pursue injunctive relief generally, Natural-Immunogenics nevertheless lacks
standing to pursue the particular injunctive relief requested in its second amended
complaint. Docket No. 122 at 18. Specifically, the NTG Defendants argue that Natural-
Immunogenics cannot seek an injunction merely “requir[ing] the party enjoined to
comply with existing law.” Id. at 18-19 (citing EEOC v. AutoZone, Inc., 707 F.3d 824,
841 (7th Cir. 2013) (“An obey-the-law injunction departs from the traditional equitable
principle that injunctions should prohibit no more than the violation established in the
litigation or similar conduct reasonably related to the violation.”)). The Court disagrees.

       District courts have “broad latitude in fashioning equitable relief when necessary to
remedy an established wrong.” Alaska Ctr. For the Env’t v. Browner, 20 F.3d 981, 986
(9th Cir. 1994) (citing Weinberger v. Romero-Barcelo, 456 U.S. 305 (1982)). This
includes, as requested here, prophylactic pre-filing requirements necessary to prevent the
filing of fraudulent lawsuits. See Weissman v. Quail Lodge, Inc., 179 F.3d 1194, 1197
(9th Cir. 1999) (“District courts have the inherent power to file restrictive pre-filing
orders against vexatious litigants with abusive and lengthy histories of litigation.”). Such
an injunction would not be an “obey-the-law injunction.” AutoZone, 707 F.3d at 841.
However, at this stage, the Court need not determine whether Natural-Immunogenics is
entitled to the requested relief in the event there is a finding of liability. See United States
v. Citgo Petroleum Corp., 697 F. Supp. 2d 670, 674 (W.D. La. 2010) (“CITGO presents
no legal authority that the request for injunctive relief must be narrowly tailored or
specific . . . . [T]he mere request for injunctive relief must only meet the requirements of
Rule 8 of the Federal Rules of Civil Procedure. . . . Should the court determine after trial
that injunctive relief is necessary, such relief will be made specific and in accordance
with the law.”). Rather, it is enough for Natural-Immunogenics to show that it has
standing to pursue injunctive relief under the UCL generally. Id. And, as discussed
above, Natural-Immunogenics has done so here.

5.       Non-NTG Defendants’ Rule 12(b)(6) motion to dismiss

         5.1.           RICO claims against Pfleg, Dronkers, Demulder, and Schoonover
  Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 29 of 33 Page ID
                                    #:4987

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.        SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title           Natural Immunogenics Corp. v. Newport Trial Group, et al.

       Natural-Immunogenics’s second amended complaint alleges substantive RICO
violations under section 1962(c) against Pfleg, Dronkers, Demulder, and Schoonover for
their conduct in the Nature’s Way, Kiss My Face, Carter-Reed, and Himalaya Drug
actions. Docket No. 1 ¶ 336. The non-NTG Defendants move to dismiss Natural-
Immunogenics’s section 1962(c) claims against Pfleg, Dronkers, Demulder, and
Schoonover for failure to allege, among other things,11 that they engaged in a “pattern of
racketeering activity.” Docket No. 126-1 at 18-20. The Court grants the non-NTG
Defendants’ motion to dismiss on this ground.

                  5.1.1.       Continuity

       To establish a “pattern of racketeering activity,” the plaintiff must allege that the
defendants engaged in racketeering activity that was “related” and “continuous.” H.J.,
492 U.S. at 238. “The pattern requirement must be satisfied as to each defendant
individually.” Eclectic Properties E., LLC v. The Marcus & Millichap Co., 2012 WL
713289, at *9 (N.D. Cal. Mar. 5, 2012), aff’d sub nom. Eclectic Properties E., LLC v.
Marcus & Millichap Co., 751 F.3d 990 (9th Cir. 2014) (citing Craig Outdoor Advert.,
Inc. v. Viacom Outdoor, Inc., 528 F.3d 1001, 1027 (8th Cir. 2008); United States v.
Persico, 832 F.2d 705, 714 (2d Cir. 1987)). Under RICO, continuity may be either “open-
ended” or “close-ended.” Id. at 241. Close-ended conduct consists of a “series of related
predicates extending over a substantial period of time.” Id. Open-ended conduct, by
contrast, consists of “past conduct that by its nature projects into the future with a threat
of repetition.” Id. As explained below, Natural-Immunogenics has not alleged either
open-ended or close-ended continuity against Pfleg, Dronkers, Demulder, and Schnoover.
Accordingly, the Court dismisses the RICO claims against these defendants.

                  5.1.1.       Close-ended continuity

      There is no bright-line rule for determining the period of time required for close-
ended continuity. Allwaste, Inc. v. Hecht, 65 F.3d 1523, 1528 (9th Cir. 1995) (declining
            11
          Because the Court grants the non-NTG Defendants’ motion
   to dismiss for failure to allege a pattern of racketeering
   activity, the Court need not consider the non-NTG Defendants’
   other arguments for dismissal.
  Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 30 of 33 Page ID
                                    #:4988

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title          Natural Immunogenics Corp. v. Newport Trial Group, et al.

to establish a “hard and fast, bright line, one-year rule” for close-ended continuity
because “such a rigid requirement . . . would contradict the fluid concept of continuity
enunciated by the Supreme Court in H.J., Inc.”). However, courts virtually always find
that activity spanning less than one year does not satisfy the close-ended continuity
requirement. Religious Tech. Ctr. v. Wollersheim, 971 F.2d 364, 366-67 (9th Cir. 1992)
(“We have found no case in which a court has held the [close-ended continuity]
requirement to be satisfied by a pattern of activity lasting less than a year.”); Eclectic
Properties E., 2012 WL 713289, at *10 (“[C]ourts have rarely if ever found activity
lasting less than a year sufficient.”).

       Here, Natural-Immunogenics’s RICO claims against Pfleg, Dronkers, Demulder,
and Schoonover are based solely on their participation in the Nature’s Way, Kiss My
Face, Carter-Reed, and Himalaya Drug actions, with each lawsuit lasting no more than
approximately six months. Compare, e.g., Docket No. 92 ¶ 202 (“In early 2012,
Defendant Andrew Baslow offered a bribe to Matthew Dronkers.”) (emphasis added),
with id. ¶ 205 (“On May 11, 2012, . . . [Newport Trial Group, Scott Ferrell, and Victoria
Knowles] filed a Verified Class Action Complaint against Kiss My Face, LLC on behalf
of plaintiff and class representative Dronkers.”) (emphasis added), and id. ¶ 219 (“In
November of 2012, Kiss My Face entered into a confidential settlement agreement with
the NTG and Dronkers . . . .”) (emphasis added). As the great weight of case law makes
clear, see Religious Tech. Ctr., 971 F.2d at 366-67, Pfleg’s, Dronker’s, Demulder’s, and
Schoonover’s participation in the lawsuits, extending no longer than approximately six
months, is insufficient for close-ended continuity.

                 5.1.2.        Open-ended continuity

       To allege open-ended continuity, the plaintiff must allege that the predicate RICO
acts either “specifically threaten repetition” or “[have] become a regular way of doing
business” for the defendants. Allwaste, 65 F.3d at 1528 (internal quotation marks
omitted). Here, there is no basis for the Court to find that Pfleg, Dronkers, Demulder, and
Schoonover will prosecute fraudulent class action lawsuits in the future. Accordingly,
Natural-Immunogenics has also failed to allege open-ended continuity.

         5.2.             RICO claims against Sandoval

         Natural-Immunogenics’s second amended complaint alleges substantive RICO
  Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 31 of 33 Page ID
                                    #:4989

                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES - GENERAL
 Case No.   SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title      Natural Immunogenics Corp. v. Newport Trial Group, et al.

violations under section 1962(c) against Sandoval for his conduct in the Nilon action.
Docket No. 1 ¶ 336. As with the other defendants, the substantive RICO claims against
Sandoval are based on predicate mail fraud, wire fraud, bribery, extortion, obstruction of
justice, and witness tampering allegations. Docket No. 92 ¶ 368. The non-NTG
Defendants argue that the mail fraud, wire fraud, and extortion allegations must be
dismissed because these allegations are pled on “information and belief,” and Natural-
Immunogenics has failed to allege the specific information that forms its belief. Docket
No. 126-1 at 16. Specifically, the non-NTG Defendants argue that Natural-Immunogenics
has failed to allege why it believes that (1) Sandoval never purchased Sovereign Silver;
(2) Sandoval did not purchase Sovereign Silver in El Cajon, California; (3) Sandoval did
not purchase Sovereign Silver in reliance on Sovereign Silver labels or advertisements;
and (4) Sandoval agreed to accept a bribe from Ryan Ferrell or Baslow in exchange for
providing false testimony as class representative in Nilon. Id.

       The Court disagrees. In its second amended complaint, Natural-Immunogenics
alleges specific information that forms the basis of each belief, including that (1)
Sandoval produced no proof of purchase in discovery or at deposition; (2) at the time
Sandoval allegedly purchased the Sovereign Silver product in California, he was
prohibited from leaving Arizona under the terms of supervised probation for a prior
felony conviction; (3) Sandoval testified at his deposition that he had no knowledge about
any health effects related to Sovereign Silver products; and (4) Ryan Ferrell was lead
counsel in the Nilon action at the time Sandoval substituted as class representative, and
Baslow is the individual who offers bribes to people on the Newport Trial Group’s
behalf. Docket No. 92 ¶¶ 47-48, 76, 117, 119-120, 128. Together, these allegations are
sufficient to support the mail fraud, wire fraud, and extortion allegations against Sandoval
made on information and belief. The Court therefore denies the non-NTG Defendants’
motion to dismiss on this ground.

             5.3.         RICO conspiracy claims

     In addition to the substantive RICO violations, Natural-Immunogenics also alleges
RICO conspiracy against the non-NTG Defendants. Docket No. 92 ¶¶ 392-400. The non-
NTG Defendants move to dismiss the RICO conspiracy claims against Pfleg, Demulder,
Dronkers, and Schoonover on the grounds that they are predicated on defective
  Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 32 of 33 Page ID
                                    #:4990

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 15-02034 JVS(JCGx)                               Date   August 1, 2016

 Title          Natural Immunogenics Corp. v. Newport Trial Group, et al.

substantive RICO violations. Docket No. 126-1 at 20. The Court rejects this argument. To
allege conspiracy to violate RICO, the plaintiff need only allege an agreement to commit
a substantive violation of RICO. Oki, 298 F.3d at 774-75. To allege RICO conspiracy
against a particular defendant under this standard, the plaintiff need not also allege the
elements of a substantive RICO violation against the same defendant. Salinas v. United
States, 522 U.S. 52, 65 (1997) (“It is elementary that a conspiracy may exist and be
punished whether or not the substantive crime ensues, for the conspiracy is a distinct evil,
dangerous to the public, and so punishable in itself.”); Carlin v. Dairy Am., Inc., 2016
WL 3447827, at *4 (E.D. Cal. June 23, 2016) (“[No] appellate case this court can find
ha[s] held that a plaintiff must be able to plead the elements of a substantive RICO
violation against the same defendant that any conspiracy claim is plead against.”). Rather,
the plaintiff need only allege that the defendant “knowingly agreed to facilitate a scheme
which includes the operation or management of a RICO enterprise.” United States v.
Fernandez, 388 F.3d 1199, 1230 (9th Cir. 2004), as modified by 425 F.3d 1248 (9th Cir.
2005). Here, Natural-Immunogenics has adequately alleged that Pfleg, Demulder,
Dronkers, and Schoonover all agreed to participate in the NTG Defendants’ fraudulent
litigation scheme. Docket No. 92 ¶¶ 175-76, 202-03, 222-23, 249-50. Accordingly, the
Court declines to dismiss the RICO conspiracy claims against Pfleg, Demulder,
Dronkers, and Schoonover.

         5.4.           UCL claims

       Natural-Immunogenics also brings UCL claims against the non-NTG Defendants.
Docket No. 92 ¶¶ 401-412. The non-NTG Defendants move to dismiss the UCL claims to
the extent they are based on defective predicate RICO violations. Docket No. 126-1 at 20.
Because Natural-Immunogenics has failed to adequately allege substantive RICO
violations under 18 U.S.C. § 1962(c) against Pfleg, Dronkers, Demulder, and
Schoonover, the Court dismisses the UCL claims against Pfleg, Dronkers, Demulder, and
Schoonover. See Rubio v. Capital One Bank (USA), N.A., 572 F. Supp. 2d 1157, 1168
(C.D. Cal. 2008) (“Where a plaintiff cannot state a claim under the ‘borrowed’ law, she
cannot state a UCL claim either.”). However, the Court dismisses the UCL claims against
Pfleg, Dronkers, Demulder, and Schoonover only to the extent they are based on
substantive RICO violations under 18 U.S.C. § 1962(c). Natural-Immunogenics may
proceed with its UCL claims to the extent they are based on malicious prosecution and
RICO conspiracy claims under 18 U.S.C. § 1962(d).
     Case 8:15-cv-02034-JVS-JCG Document 157 Filed 08/01/16 Page 33 of 33 Page ID
                                       #:4991

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES - GENERAL
 Case No.      SACV 15-02034 JVS(JCGx)                                      Date    August 1, 2016

 Title         Natural Immunogenics Corp. v. Newport Trial Group, et al.

6.       Conclusion

         For the reasons stated above, the Court grants the motions as follows:

         (1)    The Court grants the NTG Defendants’ Rule 12(b)(6) motion to dismiss the
                18 U.S.C. § 1962(c)-(d) claims against Knowles;

         (2)    The Court grants the NTG Defendants’ anti-SLAPP motion to strike all
                allegations purporting to bring UCL claims on behalf of the general public;
                and

         (3)    The Court grants the non-NTG Defendants’ Rule 12(b)(6) motion to
                dismiss the 18 U.S.C. § 1962(c) and corresponding UCL claims against
                Pfleg, Dronkers, Demulder, and Schoonover.

         The Court otherwise denies the pending motions.

         IT IS SO ORDERED.



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